             Case 1:18-cv-09904-PKC Document 116
                                             115 Filed 01/12/21
                                                       01/11/21 Page 1 of 1


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                                              January 11, 2021

                                                     Application GRANTED.
Via ECF                                              SO ORDERED.
Hon. P. Kevin Castel, USDJ
                                                     Dated: 1/12/2021
United States District Court, SDNY
500 Pearl Street, Courtroom 11D
New York, New York 10007

                                   Re:     Ruiz v. City of New York, et al.
                                           Docket No.: 18-cv-09904 (PKC)

Dear Judge Castel:

       We represent defendant National Railroad Passenger Corporation (“Amtrak”) in the above
referenced matter. In accordance with Your Honor’s individual rules, we write to request that the
deadline for the parties to file a pre-motion letter be extended by one week from January 13, 2021
to January 20, 2021.

        The parties participated in a settlement conference before Magistrate Gabriel Gorenstein
on January 8, 2021, but we were unable to reach a resolution. As such, we request this extension
in order to confer with our client, and further investigate and discuss the issues raised during the
conference.

        No prior request to extend the dispositive motion deadline has been made. Counsel for
Plaintiff, the City, MSG, and NYCTA/MTA consent to this request.

           We thank the Court for its consideration of this request.

                                                     Respectfully Submitted,

                                                                  /s/
                                                     Shayna A. Bryan

CC:        Via ECF & Email:
           All counsel of record


4813-2710-3702v.1
